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Inf`ormation Security Of`f`lcer

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Date § l\“? I‘Ud \$§
IN THE UNITED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA
' Case No. 1:18~cr~83 (TSE)

 

' v. IN CAMERA. EX PARTE
l AND UNDER SEAL
` PAUL J. MANAFORT, JR., l ' Fifed Wit_h Classified Sec-urity Officer _'
Defendant.

 

 

. GOVERNMENT’S NOTICE'OF FILING OF UNREDACTED MEMORANDUM

